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           STATE

                         IN CLERK'S OFFICE
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ANDREW M.                                                   J. ANNUCCI                     eJjr^
Governor           ^     nrr i i 'jnio        Aiding Commissioner
                  * OCI 1 7 2019 ^ing Commissioner _                         -i
Date; 10/7/19                                                                                       /s/(ARR)
                   BROOKLYN OFFiCE
Honorable Judge Allyne R. Ross
U.S. Eastern District Court                            RE:                 Gotti, John
271 Cadman Plaza                                       DIN#:              18A1352
Brooklyn, NY 11201                                     NYSID#:            09988598Y
                                                       FBI #:             39D1AELNP
                               USMS#: 90030-053 / REF #: B & 04411606092 / OR#: 17-CR-127
Dear Honorable Ross:


The above-named inmate is currently incarcerated at this facility and has expressed an interest in
participating in the Temporary Release Program. If approved for Temporary Release, the inmate
would be eligible for furloughs, work and educational release under supervision of a Parole Officer
at a minimum security correctional facility.

Since the inmate is serving a Federal 60 month sentence, with 30 months CC to NYS and 30
months OS, followed by 3 years Federal Supervised Release, imposed by you on 3/14/18, the OS
part would make him ineligible for any Temporary Release Program in NYS.(However, we are
inquiring as to whether or not you do have an objection to his participation in the Temporary
Release Program since the inmate is claiming that you addressed this issue, on the record, at
Sentencing wherein you stated you have no objections to his participation in Temporary Release or
Shock. In addition, if this is correct, we request a copy of the Federal Sentencing Minutes for our
records, for verification.) Your non-objection does not guarantee the inmate's participation, but
simply clears the way for his application to the Temporary Release Program. Once the application
is received, the inmate's case is viewed in its entirety by Departmental Staff before a final decision
is made.


However, if you object, our rules and regulations require that we deny the application for
Temporary Release participation as long as the sentence is in effect.

IF WE DO NOT HEAR FROM YOU WITHIN THIRTY (30) DAYS OF THE DATE OF THIS
INQUIRY,(and the Sentencing Minutes do state no objection) WE WILL CONCLUDE THAT YOU
HAVE NO OPINION IN THIS MATTER AND THE APPLICATION PROCESS WILL BEGIN.

Thank you for your time and consideration in this matter.

                                                                Sincerely,

                                                                BTOce^. Yelich, Supewntendent


                                                                Sheila A. Rock
                                                                Offender Rehabilitation Coordinator


       Bare Mil! Correctional Facility, 181 Brand Road. Caller Box #20, Malone, NY 12953-0020 j (518)483-8411 j www.doccs.ny.gov
